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                                                                L a w Offi c e of
                                        J A M E S E. B A H A M O N D E, P. C.
                                                                  2 5 0 1 J o d y C o u rt
                                                         N o rt h B ell m o r e, N Y 1 1 7 1 0
                                                    L o n g I sl a n d T el. ( 5 1 6 ) 7 8 3 - 9 6 6 2
                                                   N e w Y o r k Cit y T el. ( 6 4 6) 2 9 0 -8 2 5 8
                                                            F a x N o. ( 6 4 6) 4 3 5 -4 3 7 6
                                                         J a m e s @ Ci vil Ri g ht s N Y. c o m


                                                                                                         A pril 1 8, 2 0 2 5

B Y E CF

H o n. M ar g ar et G ar n ett , U. S. D .J.
U nit e d St at es C o urt h o us e
S o ut h er n Distri ct of N e w Y or k
4 0 F ol e y S q u ar e
N e w Y or k, N Y 1 0 0 0 7

                                                         R e.         C a p ers v. B S R E P U A 3 3 3 3 Br o a d w a y L L C et al.,
                                                                      2 4 c v 3 8 9 2 ( M M G)( S N)

D e ar J u d g e G ar n ett :
            I r e pr es e nt Pl ai ntiff T o n y a C a p ers, a n d p urs u a nt t o t h e C o urt’s or d er d at e d M ar c h 7,
2 0 2 5 , t h e p arti es j oi ntl y s u b mit t his st at us l ett er.
            O n F e br u ar y 2 7, 2 0 2 5, t h e p arti es att e n d e d a s ettl e m e nt c o nf er e n c e b ef or e M a gistr at e
J u d g e N et b ur n. W hil e w e di d n ot r e a c h a s ettl e m e nt, w e a gr e e d t o e x c h a n g e m e di c al
a ut h ori z ati o ns a n d r e c or ds a n d t o c o nti n u e n e g oti ati n g a p ot e nti al s ettl e m e nt. D ef e n d a nts h a v e
st at e d t h e y n e e d t o s e e t h e m e di c al r e c or ds b ef or e c o nti n ui n g s ettl e m e nt n e g oti ati o ns. T h er ef or e,
aft er t h e s ettl e m e nt c o nf er e n c e , Pl ai ntiff pr o vi d e d D ef e n d a nts wit h a m e di c al a ut h ori z ati o n t o
o bt ai n c o pi es of h er m e di c al r e c or ds. P arti es h a v e s u b mit t e d t h e m e di c al a ut h ori z ati o ns t o t h e
m e di c al pr o vi d er. H o w e v er, t h e m e di c al pr o vi d er h as n ot y et pr o vi d e d c o pi es of t h e m e di c al
r e c or ds.
           Pl e as e n ot e , P arti es still h a v e a n i nt er est i n c o nti n ui n g t h eir di al o g u e r e g ar di n g a p ot e nti al
s ettl e m e nt a n d w o ul d r e q u est t h at t h e C o urt s et a n e w d at e f or a st at us r e p ort i n 4 5 d a ys . If
P arti es r e c ei v e c o pi es of t h e m e di c al r e c or ds b ef or e t h e e x pir ati o n of t h e 4 5 d a ys, w e will n otif y
t h e c o urt.
           T h a n k y o u f or y o ur att e nti o n a n d c o nsi d er ati o n.
                                                                       R es p e ctf ull y Y o urs,

                                                                      /s/ J a m es E. B a h a m o n d e

                                                                      J a m es E. B a h a m o n d e, Es q.
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L a w O f fi c e o f
J a m e s E. B a h a m o n d e , P. C.
                                                                                                                  A pril 1 8, 2 0 2 5
                                                                                                                      Pa ge - 2 -



c c:
H a y d n Brill, Es q.                It is h er e b y O R D E R E D t h at t h e p arti es s h all fil e a st at us l ett er
Att or n e ys f or D ef e n d a nts   r e g ar di n g t h eir s ettl e m e nt dis c ussi o ns a n d t h e p e n di n g r e q u ests f or
                                      Pl ai ntiff's m e di c al r e c or ds, n o l at er t h a n J u n e 2, 2 0 2 5 .

                                      S O O R D E R E D. D at e: 4/ 2 3/ 2 0 2 5.



                                      H O N. M A R G A R E T M. G A R N E T T
                                      U NI T E D S T A T E S DI S T RI C T J U D G E
